
ELDER, Judge.
Alfred McKinley Jones (appellant) appeals his conviction for driving with a prohibited blood alcohol level, in violation of *169Lynchburg Code § 25-162. Appellant contends that the trial court erred in failing to dismiss the drunk driving charge as barred on double jeopardy and collateral estoppel grounds. Because the trial court did not err, we affirm appellant’s conviction.
I.
FACTS
On April 8,1995, a vehicle driven by appellant nearly struck another vehicle. Officer P.K. Redd of the Lynchburg Police Department arrived at the scene shortly thereafter. Appellant failed three field sobriety tests, and breathalyzer test results indicated that appellant’s blood alcohol level was .20 percent.
Pursuant to Code § 46.2-391.2, upon appellant’s arrest, his driver’s license was suspended administratively for seven days. On April 12,1995, appellant filed a motion for review of his administrative suspension. The Lynchburg General District Court held a hearing on the matter the same day, at which the Commonwealth chose not to appear. No police reports or other evidence on the Commonwealth’s behalf were offered. After hearing appellant’s testimony, the court rescinded the license suspension, finding that the police lacked probable cause to arrest appellant.
Despite the general district court’s ruling that no probable cause existed for appellant’s arrest, the City of Lynchburg prosecuted appellant in the general district court pursuant to Lynchburg Code § 25-162, which prohibits drunk driving. On May 2,1995, appellant filed a motion to dismiss on grounds of acquittal, based on the ruling that there was no probable cause for his arrest. Appellant argued that the Commonwealth was collaterally estopped from proceeding on the related drunk driving charge and that the prosecution of the criminal charge was barred on double jeopardy grounds. The general district court overruled the motion and on May 3, 1995, convicted appellant of drunk driving.
*170After appealing his conviction to the circuit court, appellant again filed a motion to dismiss on grounds of acquittal. On August 8, 1995, the circuit court denied appellant’s motion. The circuit court ruled that pursuant to Code § 46.2-391.2(0 the prior determination of no probable cause did not constitute a binding or final judgment upon which collateral estoppel could be based.1 After appellant stipulated to the Commonwealth’s evidence, the circuit court found appellant guilty of drunk driving.
II.
DOUBLE JEOPARDY &amp; COLLATERAL ESTOPPEL
Appellant argues that his prosecution for drunk driving was constitutionally impermissible because the administrative license suspension proceeding was a criminal proceeding, and the double jeopardy protection of the Fifth Amendment of the United States Constitution barred a second prosecution. We disagree.
In Tench v. Commonwealth, 21 Va.App. 200, 204, 462 S.E.2d 922, 923-24 (1995)(en banc), we held that an administrative license suspension is a civil penalty and does not constitute “punishment” for double jeopardy purposes. See United States v. Halper, 490 U.S. 435, 109 S.Ct. 1892, 104 L.Ed.2d 487 (1989). Here, pursuant to Code § 46.2-391.2(C), appellant timely requested the general district court to review the license suspension, and a hearing was held on the matter four days after the suspension. It follows logically from Tench that the district court’s license suspension hearing was a civil proceeding. See, e.g., State v. Young, 249 Neb. 539, 544 N.W.2d 808, 811 (1996)(holding that an administrative license suspension hearing is civil); State v. Cassady, 140 N.H. 46, *171662 A.2d 955, 958 (1995)(same); Walton v. State, 831 S.W.2d 488, 490 (Tex.Ct.App.l992)(same); People v. Moore, 138 Ill.2d 162, 149 Ill.Dec. 278, 280, 561 N.E.2d 648, 650 (1990)(same). Therefore, because the license suspension proceeding “did not impose punishment -within the meaning of the double jeopardy clause, [appellant] was not twice placed in jeopardy in violation of the United States Constitution when prosecuted for driving while intoxicated.” Tench, 21 Va.App. at 208, 462 S.E.2d at 925.
“The doctrine of collateral estoppel in criminal cases ... means ‘that when an issue of ultimate fact has once been determined by a valid and final judgment, that issue cannot again be litigated between the same parties in any future lawsuit.’ ” Rogers v. Commonwealth, 5 Va.App. 337, 341, 362 S.E.2d 752, 754 (1987)(quoting Ashe v. Swenson, 397 U.S. 436, 443, 90 S.Ct. 1189, 1194, 25 L.Ed.2d 469 (1970)). “The party seeking the protection of collateral estoppel carries the burden of showing that the verdict in the prior action necessarily decided the precise issue he seeks to now preclude.” Rogers, 5 Va.App. at 341, 362 S.E.2d at 754. “[T]he doctrine of collateral estoppel is a constitutional requirement embodied in the fifth amendment protection against double jeopardy and is applicable to the states through the fourteenth amendment to the United States Constitution.” Simon v. Commonwealth, 220 Va. 412, 415, 258 S.E.2d 567, 569 (1979).
Because the license suspension hearing was a civil proceeding, “[a]pplication of the doctrine of collateral estoppel is not constitutionally mandated.” Cassady, 662 A.2d at 958 (holding that collateral estoppel did not prevent relitigation in a criminal proceeding of issues of fact previously decided in defendant’s favor in an administrative hearing); Young, 544 N.W.2d at 812 (same); State v. Arnold, 593 So.2d 1293 (La.Ct. App.l991)(same), writ denied, 594 So.2d 1305 (La.1992); Moore, 149 Ill.Dec. at 282, 561 N.E.2d at 652. “Because the ‘issues of ultimate fact’ in an administrative hearing held pursuant to [Code § 46.2-391.2] are different from those in a prosecution for the offense of driving while intoxicated, the *172doctrine of collateral estoppel does not bar ... [a] subsequent prosecution for driving while intoxicated.” Walton, 831 S.W.2d at 490 (holding that administrative hearing to revoke defendant’s license did not collaterally bar prosecution and did not violate double jeopardy).
Furthermore:
If we were to hold the doctrine of collateral estoppel applicable to later criminal proceedings, the [Commonwealth] would be forced to litigate thoroughly every fact at issue in an administrative license suspension proceeding. This would undermine the goal of providing informal and prompt review of a decision to suspend a driver’s license.
Cassady, 662 A.2d at 958. See Young, 544 N.W.2d at 812; Moore, 149 Ill.Dec. at 282, 561 N.E.2d at 652. “From the [Commonwealth’s] perspective, [an administrative] hearing is a minor matter where one would not expect the [Commonwealth] to prosecute the action vigorously[.]” State v. Gusman, 125 Idaho 805, 874 P.2d 1112, 1115 (1994). Also, because license suspension hearings are civil in nature, “the court may rely on law. enforcement officers’ official reports in the absence of the officers themselves.” Moore, 149 Ill.Dec. at 280, 561 N.E.2d at 650; State v. Higa, 79 Hawaii 1, 897 P.2d 928, 936 (1995); see Code § 46.2-391.2(B), (C).
For these reasons, we hold that the doctrines of double jeopardy and collateral estoppel did not bar appellant’s prosecution for drunk driving, and we affirm his conviction.

Affirmed.


. This statutory section reads, in part:
The court's findings [with regard to the review of the license suspension] are without prejudice to the person contesting the suspension or to any other potential party as to any proceedings, civil or criminal, and shall not be evidence in any proceedings, civil or criminal.

